                 Case 2:12-cr-00323-GEB Document 17 Filed 01/30/13 Page 1 of 3


     DAVID D. FISCHER (SBN 224900)
 1   LAW OFFICES OF DAVID D. FISCHER, APC
     1007 7th Street, Suite 100
 2
     Sacramento, CA. 95814
 3   Tel. (916) 447-8600
     Fax (916) 930-6482
 4   E-Mail: davefischer@yahoo.com
 5
     Attorney for Defendant
     STACEY JACOBS
 6

 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                        )       No. 2:12-CR-00323 MCE
                                                      )
11
                                                      )       STIPULATION REGARDING
            Plaintiff,                                )       EXCLUDABLE TIME PERIODS UNDER
12
                                                      )       SPEEDY TRIAL ACT; FINDINGS AND
     v.                                               )       ORDER
13
                                                      )
     STACEY JACOBS                                    )
14
                                                      )
     MYRON JACOBS                                     )
15
                                                      )
                                                      )
16
            Defendants.                               )
                                                      )
17

18

19
                                         STIPULATION
20
            Plaintiff United States of America, by and through its counsel of record, and the
21
     defendants, by and through their counsel of record, hereby stipulate as follows:
22
            1.       By previous order, this matter was set for status on January 31, 2013.
23

24          2.       By this stipulation, the defendants now move to continue the status conference

25   until April 4, 2013, and to exclude time between January 31, 2013, and April 4, 2013, under
26
     Local Code T4. Plaintiff does not oppose this request.
27
            3.       The parties agree and stipulate, and request that the Court find the following:
28




                                                          1
                 Case 2:12-cr-00323-GEB Document 17 Filed 01/30/13 Page 2 of 3


            a.       The government has represented that the discovery associated with this case
 1

 2   includes approximately 4,423 pages of investigative reports and related documents in electronic

 3   form. All of this discovery has been either produced directly to counsel and/or made available
 4
     for inspection and copying.
 5
            b.       Counsel for the defendants desire additional time to consult with their respective
 6

 7
     clients, to review the current charges, to conduct investigation and research related to the

 8   charges, to review and copy discovery for this matter, to discuss potential resolutions with their
 9   clients, to prepare pretrial motions, and to otherwise prepare for trial.
10
            c.       Counsel for the defendants believe that failure to grant the above-requested
11
     continuance would deny them the reasonable time necessary for effective preparation, taking into
12

13   account the exercise of due diligence.

14          d.       The government does not object to the continuance.
15
            e.       Based on the above-stated findings, the ends of justice served by continuing the
16
     case as requested outweigh the interest of the public and the defendants in a trial within the
17
     original date prescribed by the Speedy Trial Act.
18

19          f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

20   et seq., within which trial must commence, the time period of January 31, 2013, to April 4, 2013,
21
     inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
22
     because it results from a continuance granted by the Court at defendants’ request on the basis of
23
     the Court's finding that the ends of justice served by taking such action outweigh the best interest
24

25   of the public and the defendants in a speedy trial.

26                   4.     Nothing in this stipulation and order shall preclude a finding that other
27
     provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
28




                                                       2
              Case 2:12-cr-00323-GEB Document 17 Filed 01/30/13 Page 3 of 3


     period within which a trial must commence.
 1

 2

 3   IT IS SO STIPULATED.
 4
     Dated: January 28, 2013                                BENJAMIN WAGNER
 5                                                          U.S. ATTORNEY

 6                                                    by:   /s/ David D. Fischer for
 7
                                                            LEE BICKLEY
                                                            Assistant U.S. Attorney
 8                                                          Attorney for Plaintiff
 9

10
     Dated: January 28, 2013                                /s/ David D. Fischer
                                                            DAVID D. FISCHER
11                                                          Attorney for Defendant
                                                            STACEY JACOBS
12

13
     Dated: January 28, 2013                                /s/ David D. Fischer for
14                                                          TIM PORI
                                                            Attorney for Defendant
15
                                                            MYRON JACOBS
16

17
                                             ORDER
18

19          IT IS SO ORDERED.
20

21   DATED:     January 30, 2013

22

23                                      ___________________________________________
                                        MORRISON C. ENGLAND, JR., CHIEF JUDGE
24                                      UNITED STATES DISTRICT JUDGE
25

26

27

28




                                                  3
